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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

Miranda Rigsby,                          )
                                         )
       Plaintiff,                        ) Civil Action File No.:
                                         ) 1:23-cv-00239-SCJ-RDC
v.                                       )
                                         )
Healthcare Revenue Recovery              )
Group, Inc. d/b/a HRRG,                  )
                                         )
       Defendant.                        )


                          NOTICE OF SETTLEMENT

      Plaintiff hereby notifies the Court that a settlement of the above-referenced

action has been reached with Defendant. The parties need to document and conclude

the settlement. Plaintiff will thereafter file or otherwise move for a dismissal as to

Defendant. Accordingly, Plaintiff respectfully submits that this obviates the need for

the parties to make any Court required filings prior to dismissal.

      Respectfully submitted this 3rd day of April, 2023.



                                              BERRY & ASSOCIATES

                                              /s/ Matthew T. Berry
                                              Matthew T. Berry
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